Case 3:11-cv-00103-HES-MCR Document 5 Filed 04/20/11 Page 1 of 2 PageID 22



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

TONIA LEWIS,

       Plaintiff,
                                    CASE NO. 3:11-cv-00103-HES-MCR
v.

H & P CAPITAL, INC.,

      Defendant.
_____________________________________/

                         NOTICE OF VOLUNTARY DISMISSAL

     TONIA LEWIS (Plaintiff), by her attorneys, KROHN & MOSS, LTD., and pursuant to

FRCP 41(a)(1)(i) (Dismissal of Actions - Voluntary Dismissal By Plaintiff Without Court

Order) voluntarily dismisses, with prejudice, H & P CAPITAL, INC. (Defendant), in this case.


                                                  RESPECTFULLY SUBMITTED,

Dated: April 20, 2011                        By: /s/ James D. Pacitti_________
                                                   James D. Pacitti, Esq.
                                                   FBN: 119768
                                                   Krohn & Moss, Ltd
                                                   10474 Santa Monica Blvd, Suite 401
                                                   Los Angeles, CA 90025
                                                   Phone: (323) 988-2400 x 230
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                                                   jpacitti@consumerlawcenter.com




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                                 VOLUNTARY DISMISSAL
Case 3:11-cv-00103-HES-MCR Document 5 Filed 04/20/11 Page 2 of 2 PageID 23




                                CERTIFICATE OF SERVICE

       I hereby certify that on April 20, 2011, I electronically filed the foregoing Notice of

Voluntary Dismissal with the Clerk of the Court by using the CM/ECF System. A copy of said

Notice was electronically submitted to Dale E. Workman, Attorney for Defendant, at the

following email address, dworkman@workmanlawoffice.com .



                                                             s/ James D. Pacitti
                                                             James D. Pacitti, Esq.
                                                             Attorney for Plaintiff




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                                   VOLUNTARY DISMISSAL
